     Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 1 of ELECTRONICALLY
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                                                                       12/18/2017 3:30 PM
                                                                         2017-L-012865
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                                                                          PAGE 1 of 24
                                                                      CIRCUIT COURT OF
              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS        COOK COUNTY, ILLINOIS
                                                                        LAW DIVISION
                     COUNTY DEPARTMENT, LAW DIVISION CLERK DOROTHY BROWN

JANE DOE I and JANE DOE II, minors, by and )
through their mothers and next friends, MARY
                                           )
DOE I and MARY DOE II,                     )
                                           )
                     Plaintiffs,           )
                                           )
               v.                          )              Case No. 17 L
                                           )
BOARD OF EDUCATION OF THE CITY OF,         )
CHICAGO and CASINO CRUZ, in his individual )
capacity and as an employee of the CHICAGO )
PUBLIC SCHOOLS,                            )
                                           )
                     Defendants.           )

                                     COMPLAINT AT LAW

       NOW COMES the Plaintiffs, JANE DOE I and JANE DOE II, minors, by and through

their mothers and next friends, MARY DOE I and MARY DOE II, by and through their

attorneys PERKAUS & FARLEY L.L.C. and LAW OFFICES OF JEROME F. MARCONI,

complaining of Defendants, BOARD OF EDUCATION OF THE CITY OF CHICAGO, and

CASINO CRUZ, individually and as an employee of the BOARD OF EDUCATION OF THE

CITY OF CHICAGO states as follows:

                                          PARTIES

       1.      Plaintiff, JANE DOE I (“Doe I”), a minor, by and through her mother and next

friend, MARY DOE I, is and was at all times relevant hereto a resident of the City of Chicago,

County of Cook, State of Illinois.

       2.      Plaintiff, JANE DOE II (“Doe II”), a minor, by and through her mother and next

friend, MARY DOE II, is and was at all times relevant hereto a resident of the City of Chicago,

County of Cook, State of Illinois.

                                              1
                             Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 2 of 24 PageID #:4




                               3.      That at all times relevant to this cause of action, the Board of Education of the

                        City of Chicago (“BOE”) was a government entity doing business in the County of Cook, City of

                        Chicago, and the State of Illinois engaged in operating, managing, and controlling public

                        schools.

                               4.      That at all times relevant to this cause of action, the BOE operated, managed,

                        and/or controlled, Roberto Clemente High School (“RCHS”), a public high school for grades

                        nine through twelve, located at 1147 North Western Ave. in the City of Chicago, County of

                        Cook, and the State of Illinois.

                               5.      That at all times relevant to this cause of action, the BOE employed various

                        personnel including, but not limited to, principals, teachers, school counselors, teacher’s aides,
ELECTRONICALLY FILED




                        security guards, coaches and janitorial staff, for the purpose of operating, managing, and
   12/18/2017 3:30 PM
     2017-L-012865
      PAGE 2 of 24




                        controlling its schools.

                               6.      That at all times relevant to this Complaint, the Defendant, Casino Cruz (“Cruz”),

                        was employed by the BOE and performed his employment duties at the RCHS.

                                                    FACTS COMMON TO ALL COUNTS

                               7.      At all times relevant to this cause of action, all of the aforementioned personnel

                        were acting in the scope of their employment and as the agents of the BOE.

                               8.      During his employment with the BOE, Defendant Cruz has been employed in

                        various capacities at the school including, but not limited to: security guard, girls swim coach,

                        girls’ volleyball coach and acting dean at RCHS.

                                DEFENDANT CRUZ’S GROOMING OF FEMALE STUDENTS AT RCHS

                               8.      In his positions as security guard and acting dean, Cruz had the authority to

                        remove students from class and punish them.

                                                                       2
                             Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 3 of 24 PageID #:5




                               9.      As the swim team and volleyball coach, Cruz had complete control over female

                        students during school hours, and on weekends for team practices, games and competitions. Cruz

                        frequently accompanied female students, often without the presence of other adults or teachers.

                               10.      In his various positions at RCHS, Cruz gained the trust and confidence of the

                        students and the female athletes he coached and supervised.

                               11.     Cruz possessed the authority to discipline and make decisions regarding the extent

                        of a student’s participation in sporting activities. Since Cruz was in a position of authority,

                        students did not confront his decisions.

                               12.     Cruz routinely tested the boundaries of female students with seemingly innocuous

                        acts such as hugging or “accidentally” touching a student in an inappropriate manner or place.
ELECTRONICALLY FILED




                        Inappropriate contact with female students included: touching a female student’s leg or thigh;
   12/18/2017 3:30 PM
     2017-L-012865
      PAGE 3 of 24




                        hugging female students tightly; whispering in a female student’s ear; touching a swimmer on

                        her body in her swimsuit; excessive touching of female volleyball players while in uniform; and

                        discussing inappropriate sexual topics in front of female students.

                               13.     Cruz’s various positions of authority within the school enabled him to

                        discourage/prevent almost all students from disclosing to their parents the abuse taking place.

                            PRIOR ACTS OF SEXUAL MISCONDUCT KNOWN TO THE BOE AND RCHS

                               14.     RCHS and the BOE have been aware that Cruz presented a danger to underage

                        female students since at least 2003. On or about April 4, 2003, while employed as a security

                        guard and the girls swim coach, Chicago Police arrested and charged Cruz with improperly

                        touching one of the underage girls on the swim team in 2002.

                               15.     In spite of Cruz’s 2003 arrest at RCHS, the BOE retained Cruz and continued to

                        retain Cruz as the female swim team coach and as a security guard.

                                                                        3
                             Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 4 of 24 PageID #:6




                                16.    Upon information and belief, after his 2003 arrest, Cruz was named in another

                        complaint alleging sexual harassment of a student. On or about June 15, 2012, a female student

                        lodged a complaint with the RCHS administration alleging she was sexually harassed by Cruz.

                                17.    The BOE and RCHS had actual and constructive knowledge of Cruz’s grooming

                        behavior and improper sexual conduct involving female students.

                                18.    Upon information and belief, on or about March 24, 2014, Cruz was named in yet

                        another complaint to the RCHS administration and the BOE alleging physical abuse by a female

                        student attending RCHS.

                                19.    The BOE and RCHS had actual and constructive knowledge of Cruz’s grooming

                        behavior and improper physical contact with female students.
ELECTRONICALLY FILED




                                20.    Despite Cruz’s arrest for sexual abuse and charges of physical abuse and sexual
   12/18/2017 3:30 PM
     2017-L-012865
      PAGE 4 of 24




                        harassment, RCHS and BOE continued to employ Cruz in various capacities at RCHS.

                                          COUNT I – SEXUAL BATTERY – DEFENDANT CRUZ
                                                       (Assault of Jane Doe I)

                                21.    During the 2016-2017 school year, Plaintiff Doe I was a freshman at RCHS.

                                22.    During the 2016-2017 school year, Cruz was employed by the BOE and RCHS in

                        the capacity of acting dean, girls volleyball coach and other positions.

                                23.     On three (3) separate occasions, from September 2016 through December 2016,

                        Cruz physically touched Doe I’s body in an insulting, provoking, improper and sexual nature.

                                24.    In or about mid December, 2016, Doe I reported the improper and unwanted

                        touching to a teacher at RCHS. The teacher reported Doe I’s complaints to the administration at

                        RCHS.

                                25.    Subsequently, Chicago Police officers interviewed Doe I regarding her allegations

                        against Cruz. Based on Doe I’s complaint, the Chicago Police arrested and charged Cruz with
                                                                    4
                             Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 5 of 24 PageID #:7




                        criminal battery of Doe I.

                               26.     As a direct and proximate result of the forgoing, the Plaintiff, Jane Doe I, suffered

                        permanent injuries of a personal and pecuniary nature, and currently experiences mental anguish,

                        humiliation and emotional and physical distress.

                               27.     Further, as a result of the aforementioned abuse and breach of trust, Plaintiff has

                        suffered and will continue to suffer physical and emotional pain and distress.

                               WHEREFORE, the Plaintiff, Jane Doe I, prays for damages against Defendant Cruz in a

                        sum in excess of $50,000.00, plus the costs of suit, and all other relief permitted by law.

                                    COUNT II – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                                                      (Doe I v. BOE and Cruz)

                                       Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s
ELECTRONICALLY FILED




                               28.
   12/18/2017 3:30 PM




                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 28 of Count II
     2017-L-012865
      PAGE 5 of 24




                        of Plaintiffs Complaint.

                               29.     Before Defendant Cruz initiated the sexual harassment and sexual abuse of Doe I,

                        Cruz engaged in a pattern of inappropriate grooming, sexual harassment and sexual abuse of

                        other minor female students which were communicated to RCHS and BOE.

                               30.     None of the agents, servants, and employees of the BOE undertook appropriate

                        measures to prohibit and prevent Cruz from engaging in his inappropriate sexual abuse and

                        sexual harassment of other students.

                               31.     The BOE knew, or should have known, Cruz was engaging in inappropriate

                        sexual conduct with minor students at RCHS.

                               32.     The BOE’s failure to properly handle reports concerning Cruz’s sexual grooming,

                        sexual harassment and sexual abuse of minors ultimately led to and precipitated his sexual abuse

                        of Doe I.
                                                                        5
                            Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 6 of 24 PageID #:8




                               33.     The BOE owes a duty to its students, including minor female students such as

                        Doe I, to provide and employ appropriate educational services and competent teachers and

                        counselors and safeguard its students from harmful conduct perpetrated by other BOE

                        employees.

                               34.     The BOE owed a duty to its minor female students, including Doe I, to provide a

                        safe and secure environment for public elementary educational pursuits.

                               35.     The BOE breached these duties by:

                                          a. Allowing an environment wherein Cruz could utilize school property,
                                             during and after school hours, without supervision of his activities, and
                                             engage in the sexual abuse of Doe I;

                                          b. Failing to protect Doe I despite its prior knowledge that Cruz was involved
ELECTRONICALLY FILED




                                             in sexual grooming, sexual harassment and sexual abuse of other female
                                             students;
   12/18/2017 3:30 PM
     2017-L-012865
      PAGE 6 of 24




                                          c. Failing to document complaints received against Cruz in accordance with
                                             BOE policies;

                                          d. Failing to warn and/or disclose to individual female students of the BOE,
                                             including Doe I, of the complaints received against Cruz.

                               36.     As a result of the BOE’s aforementioned breach, Defendants Cruz and BOE

                        proximately caused injury to Doe I.

                               WHEREFORE, Plaintiff, Doe I, a minor, by her mother and next best friend, Mary Doe I,

                        prays for judgment against the Defendant Board of Education of the City of Chicago in an

                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                                                  COUNT III – FAILURE TO SUPERVISE
                                                             (Doe I v. BOE)

                               37.     Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s


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                            Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 7 of 24 PageID #:9




                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 37 of Count III

                        of Plaintiffs Complaint.

                                  38.   The BOE, through its school board members, administrators, teachers, employees

                        and agents, was aware of Cruz’s propensity to commit acts of sexual harassment and abuse or

                        misconduct against female minor students, including Doe I, making Cruz’s future misconduct

                        and the harm likely to result from such conduct reasonably foreseeable.

                                  39.   The BOE knew Cruz was utilizing his employment and his access to school and

                        female students to engage in predatory behavior including sexual grooming, sexual harassment

                        and sexual abuse against minor female students.

                                  40.   At all relevant times herein, Doe I was under the direct and immediate control of
ELECTRONICALLY FILED




                        Cruz as an employee of the BOE.
   12/18/2017 3:30 PM
     2017-L-012865
      PAGE 7 of 24




                                  41.   The BOE had a duty to act in a reasonably prudent manner in the supervision of

                        its teachers, counselors and administrators, including Cruz, and to ensure that Cruz and other

                        employees acted in the best interest of the health, safety and welfare of children attending their

                        school.

                                  42.   The BOE, by and through its agents and/or employees acted with a reckless and

                        conscious disregard for the safety and welfare of minor female students, including Doe I, and

                        breached its duties owed to Doe I by committing one or more of the following acts or omissions:

                                           a. Allowing an environment wherein Cruz could utilize school property,
                                              during and after school hours, without supervision of his activities, and
                                              engage in the sexual abuse of Doe I;

                                           b. Failing to protect Doe I despite its prior knowledge that Cruz was involved
                                              in sexual grooming, sexual harassment and sexual abuse of other female
                                              students;

                                           c. Failing to document complaints received against Cruz in accordance with
                                              BOE policies;
                                                                     7
                            Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 8 of 24 PageID #:10




                                             d. Failing to warn and/or disclose to individual female students of the BOE,
                                                including Doe I, of the complaints received against Cruz.

                                             e. Withholding information from minor female students, including Doe I and
                                                their parents or guardians concerning prior complaints of sexual
                                                harassment and sexual abuse perpetrated on minor female students by
                                                Cruz;

                                             f. Failing to warn and/or disclose to individual minor female students of the
                                                BOE, including Doe I, of the complaints received against Cruz.

                               43.         As a result of the BOE’s aforementioned breach, Defendants Cruz and BOE

                        proximately caused injury to Doe I.

                               WHEREFORE, Plaintiff, Doe I, a minor, by her mother and next best friend, Mary Doe I,

                        prays for judgment against the Defendant Board of Education of the City of Chicago in an
ELECTRONICALLY FILED




                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this
   12/18/2017 3:30 PM
     2017-L-012865
      PAGE 8 of 24




                        Court deems equitable and just.

                                                          COUNT IV – NEGLIGENCE
                                                              (Doe I v. BOE)

                               44.        Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 44 of Count IV

                        of Plaintiffs Complaint.

                               45.        The BOE owed Doe I a duty to provide reasonably safe and appropriate

                        educational services.

                               46.        Defendant BOE breached its duty by engaging in one or more of the following

                        negligent acts:

                                             a. Failed to conduct a thorough investigation into the previous complaints
                                                against Defendant Cruz relating to inappropriate sexual behavior and
                                                comments made by Defendant Cruz;

                                             b. Failed to warm Doe I of Defendant Cruz’s propensities towards young
                                                                     8
                            Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 9 of 24 PageID #:11




                                               female students;

                                           c. Failed to adequately supervise Defendant Cruz with the knowledge
                                              Defendant Cruz had made sexual advances towards other female students;

                                           d. Otherwise failed to protect Doe I from Defendant Cruz despite the
                                              knowledge Defendant Cruz had sexually harassed other female students.

                               47.     As a direct and proximate cause and result of one or more of the aforesaid

                        negligent acts, the Plaintiff, Doe I, sustained personal, emotional and pecuniary injuries.

                               WHEREFORE, Plaintiff, Doe I, a minor, by her mother and next best friend, Mary Doe I,

                        prays for judgment against the Defendant Board of Education of the City of Chicago in an

                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.
ELECTRONICALLY FILED




                                             COUNT V - WILFUL AND WANTON CONDUCT
   12/18/2017 3:30 PM
     2017-L-012865




                                                           (Doe I v. BOE)
      PAGE 9 of 24




                               48.     Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 48 of Count V

                        of Plaintiffs Complaint.

                               49.     Defendant BOE knew or should have known that its failure to properly investigate

                        and protect students from sexual grooming behavior would likely result in injury to Doe I.

                               50.     Defendant BOE knowingly and intentionally disregarded a substantial risk of

                        harm it knew or should have known existed towards Doe I or its other students.

                               51.     Defendant BOE engaged in willful and wanton conduct by intentionally

                        disregarding a known risk of harm to Doe I by failing to investigate and/or supervise Defendant

                        Cruz by allowing Cruz unfettered access to female students despite the numerous complaints

                        against Cruz made by female students.

                               52.     As a direct and proximate cause of BOE’s utter indifference and/or conscious
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                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 10 of 24 PageID #:12




                        disregard for the safety of it students by failing to control or supervise Defendant Cruz, the

                        plaintiff, Doe I, sustained personal, emotional and pecuniary injuries.

                               WHEREFORE, Plaintiff, Doe I, a minor, by her mother and next best friend, Mary Doe I,

                        prays for judgment against the Defendant Board of Education of the City of Chicago in an

                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                                                   COUNT VI – NEGLIGENT RETENTION
                                                              (Doe I v. BOE)

                               53.     Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 53 of Count VI
ELECTRONICALLY FILED




                        of Plaintiffs Complaint.
   12/18/2017 3:30 PM




                               54.     While an employee of the BOE, the BOE and RCHS, through its agents, were
     2017-L-012865
     PAGE 10 of 24




                        aware of numerous complaint made against Defendant Cruz relating to his appropriate sexual

                        conduct involving female students.

                               55.     Defendant BOE either knew or should have known of the sexually dangerous

                        propensities of Defendant Cruz after learning of Cruz’s previous arrest and complaints made

                        against Defendant Cruz.

                               56.     The violent and sexually dangerous propensities of Defendant Cruz made Cruz

                        unfit for the job and created a foreseeable danger to others.

                               57.     The unfitness of Defendant Cruz was a proximate cause of Doe I’s injuries.

                               58.     The conduct of RCHS and BOE in intentionally hiring and retaining Defendant

                        Cruz was willful and wanton as it was in reckless disregard for the safety of its students.

                               WHEREFORE, Plaintiff, Doe I, a minor, by her mother and next best friend, Mary Doe I,

                        prays for judgment against the Defendant Board of Education of the City of Chicago in an
                                                                   10
                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 11 of 24 PageID #:13




                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                               COUNT VII – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                                    (Doe I v. Casino Cruz)

                               59.     Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 59 of Count VII

                        of Plaintiffs Complaint.

                               60.     The acts of sexual harassment and sexual abuse against the minor female students,

                        including Doe I and Doe II, was extreme and outrageous.

                               61.     The BOE and Cruz either intended or knew that there was a high probability that

                        Cruz’s would cause severe emotional distress to Doe I and Doe II.
ELECTRONICALLY FILED
   12/18/2017 3:30 PM




                               62.     Defendant Cruz’s aforementioned conduct caused severe emotional distress to
     2017-L-012865
     PAGE 11 of 24




                        Doe I and Doe II and caused them to suffer damages of a personal and pecuniary nature.

                               WHEREFORE, Plaintiff, Doe I, a minor, by her mother and next best friend, Mary Doe I,

                        prays for judgment against the Defendant Board of Education of the City of Chicago in an

                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                             COUNT VIII – NEGLIGENT FAILURE TO CONTROL CONDUCT OF CRUZ
                                          (RESTATEMENT (SECOND) OF TORTS §317)
                                                  (Doe I and Doe II V. BOE)

                               63.     Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 63 of Count

                        VIII of Plaintiffs Complaint.

                               64.     The BOE was in charge of providing a public education to minor students,

                        including Plaintiffs, through oversight and supervision of all school functions, school property
                                                                      11
                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 12 of 24 PageID #:14




                        and school student programs. The BOE is also in charge of the hiring, supervision, management,

                        assignment, control and regulation of individuals who serve as staff members, coaches and

                        teachers.

                               65.     At all times herein, the students of the BOE and their parents, including Plaintiffs

                        and their parents, reposed great trust and confidence in the BOE by and through its school board

                        members, administrators, teachers, employees and/or agents, so that it deemed influence, control

                        and superiority over the students of the BOE and their parents, including Plaintiffs and their

                        parents.

                               66.     The BOE, by and through its school board members, administrators, teachers,

                        employees and/or agents, stood in the relation of parents and guardians (in loco parentis) to the
ELECTRONICALLY FILED




                        pupils, including Plaintiffs, was required by law to undertake the custody of Doe I and Doe II,
   12/18/2017 3:30 PM
     2017-L-012865
     PAGE 12 of 24




                        creating a duty to protect Doe I and Doe II from reasonably foreseeable harm on Plaintiffs

                        perpetrated by third persons in all matters relating to the conduct of the schools and the school

                        children, extending all activities connected with the school program, including all athletic and

                        extracurricular programs.

                               67.     That standing in loco parentis, the BOE could exercise the parent-Guardian

                        relationship at any time for the safety and supervision of the pupils, including Plaintiffs, in the

                        absence of their parents or guardians.

                               68.     That standing in loco parentis, the BOE voluntarily undertook the primary

                        responsibility for the minor students’ safety, including Plaintiffs, which usually lies primarily

                        with parents and/or guardians, thereby depriving the minor students, including Plaintiffs, of their

                        normal opportunities for protection otherwise provided by their parents and/or guardians.

                               69.     Dating as far back as 2003 and continuing through the abuse alleged in this

                                                                       12
                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 13 of 24 PageID #:15




                        Complaint, the BOE, by and through its school board members, administrators, teachers, agents

                        and/or employees, received and was aware of multiple reports, allegations and complaints

                        concerning misconduct of Cruz involving minor female students, including sexual harassment

                        and sexual abuse, before Cruz sexually harassed and sexually abused Doe I and Doe II.

                                  70.   That Cruz exercised a degree of power over Doe I and Doe II given their age,

                        experience, and Cruz’s power to affect the Plaintiffs academic standing.

                                  71.   The power disparity between Cruz and the Plaintiffs disinclined plaintiffs from

                        protesting or attempting to avoid Cruz outside the presence of third parties who might have

                        protected Doe I and Doe II.

                                  72.   The BOE, through its acts or omissions, fail to take any steps to protect Doe I and
ELECTRONICALLY FILED




                        Doe II and/or prevent reasonably foreseeable harm to the Plaintiffs.
   12/18/2017 3:30 PM
     2017-L-012865
     PAGE 13 of 24




                                  73.   The failure to warn and/or publicly disclose to individual female students,

                        including Plaintiffs, and their parents of past complaints of sexual abuse and misconduct against

                        Cruz served the purpose of preventing those parents and minor female students, including

                        Plaintiffs, from assessing the safety or lack thereof provided for their children and taking

                        advantage of their otherwise normal opportunities for protection.

                                  74.   The BOE, by and through its agents and employees acted with conscious

                        disregard and reckless indifference to the safety of minor female students, including Doe I and

                        Doe II.

                                  75.   As a direct and proximate cause of BOE’s utter indifference and/or conscious

                        disregard for the safety of it students by failing to control or supervise Defendant Cruz, the

                        Plaintiffs’, Doe I and Doe II, sustained personal, emotional and pecuniary injuries.

                                  WHEREFORE, Plaintiffs’, Doe I and Doe II, minors, by their mothers and next best

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                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 14 of 24 PageID #:16




                        friends, Mary Doe I and Mary Doe II, prays for judgment against the Defendant Board of

                        Education of the City of Chicago in an amount in excess of $50,000.00 plus attorney fees,

                        interest, court costs and any other relief this Court deems equitable and just.

                                         COUNT IX – SEXUAL BATTERY – DEFENDANT CRUZ
                                                       (Assault of Jane Doe II)

                               76.     Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 76 of Count IX

                        of Plaintiffs Complaint.

                               77.     During the 2016-2017 school year, Plaintiff Doe II was a freshman at RCHS.

                               78.     During the 2016-2017 school year, Cruz was employed by the BOE and RCHS in
ELECTRONICALLY FILED




                        the capacity of acting dean, girls volleyball coach and other positions.
   12/18/2017 3:30 PM




                               79.      On or about December 15, 2016, Cruz physically touched Doe II’s body in an
     2017-L-012865
     PAGE 14 of 24




                        insulting, provoking, improper and sexual nature.

                               80.     Immediately thereafter, Doe II reported the improper and unwanted touching to a

                        teacher at RCHS. The teacher reported Doe II’s complaints to the administration at RCHS.

                               81.     Subsequently, Chicago Police officers interviewed Doe II regarding her

                        allegations against Cruz. Based on Doe II’s complaint, the Chicago Police arrested and charged

                        Cruz with criminal battery of Doe II.

                               82.     As a direct and proximate result of the forgoing, the plaintiff, Jane Doe II,

                        suffered permanent injuries of a personal and pecuniary nature, and currently experiences mental

                        anguish, humiliation and emotional and physical distress.

                               83.     Further, as a result of the aforementioned abuse and breach of trust, Plaintiff has

                        suffered and will continue to suffer physical and emotional pain and distress.

                               WHEREFORE, the Plaintiff, Jane Doe II, prays for damages against Defendant Cruz in a
                                                                  14
                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 15 of 24 PageID #:17




                        sum in excess of $50,000.00, plus the costs of suit, and all other relief permitted by law.




                                  COUNT X – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                                                   (Doe II v. BOE and Cruz)

                               84.     Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 84 of Count X

                        of Plaintiffs Complaint.

                               85.     Before Defendant Cruz initiated the sexual harassment and sexual abuse of Doe

                        II, Cruz engaged in a pattern of inappropriate grooming, sexual harassment and sexual abuse of
ELECTRONICALLY FILED




                        other minor female students which were communicated to RCHS and BOE.
   12/18/2017 3:30 PM




                               86.     None of the agents, servants, and employees of the BOE undertook appropriate
     2017-L-012865
     PAGE 15 of 24




                        measures to prohibit and prevent Cruz from engaging in his inappropriate sexual abuse and

                        sexual harassment of other students.

                               87.     The BOE knew, or should have known, Cruz was engaging in inappropriate

                        sexual conduct with minor students at RCHS.

                               88.     The BOE’s failure to properly handle reports concerning Cruz’s sexual grooming,

                        sexual harassment and sexual abuse of minors ultimately led to and precipitated his sexual abuse

                        of Doe II.

                               89.     The BOE owes a duty to its students, including minor female students such as

                        Doe II, to provide and employ appropriate educational services and competent teachers and

                        counselors and safeguard its students from harmful conduct perpetrated by other BOE

                        employees.

                               90.     The BOE owed a duty to its minor female students, including Doe II, to provide a
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                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 16 of 24 PageID #:18




                        safe and secure environment for public elementary educational pursuits.

                               91.     The BOE breached these duties by:

                                          a. Allowing an environment wherein Cruz could utilize school property,
                                             during and after school hours, without supervision of his activities, and
                                             engage in the sexual abuse of Doe II;

                                          b. Failing to protect Doe II despite its prior knowledge that Cruz was
                                             involved in sexual grooming, sexual harassment and sexual abuse of other
                                             female students;

                                          c. Failing to document complaints received against Cruz in accordance with
                                             BOE policies;

                                          d. Failing to warn and/or disclose to individual female students of the BOE,
                                             including Doe II, of the complaints received against Cruz.

                               92.     As a result of the BOE’s aforementioned breach, Defendants Cruz and BOE
ELECTRONICALLY FILED




                        proximately caused injury to Doe II.
   12/18/2017 3:30 PM
     2017-L-012865
     PAGE 16 of 24




                               WHEREFORE, Plaintiff, Doe II, a minor, by her mother and next best friend, Mary Doe

                        II, prays for judgment against the Defendant Board of Education of the City of Chicago in an

                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                                                   COUNT XI – FAILURE TO SUPERVISE
                                                             (Doe II v. BOE)

                               93.     Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 93 of Count XI

                        of Plaintiffs Complaint.

                               94.     The BOE, through its school board members, administrators, teachers, employees

                        and agents, was aware of Cruz’s propensity to commit acts of sexual harassment and abuse or

                        misconduct against female minor students, including Doe II, making Cruz’s future misconduct


                                                                       16
                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 17 of 24 PageID #:19




                        and the harm likely to result from such conduct reasonably foreseeable.

                                  95.   The BOE knew Cruz was utilizing his employment and his access to school and

                        female students to engage in predatory behavior including sexual grooming, sexual harassment

                        and sexual abuse against minor female students.

                                  96.   At all relevant times herein, Doe II was under the direct and immediate control of

                        Cruz as an employee of the BOE.

                                  97.   The BOE had a duty to act in a reasonably prudent manner in the supervision of

                        its teachers, counselors and administrators, including Cruz, and to ensure that Cruz and other

                        employees acted in the best interest of the health, safety and welfare of children attending their

                        school.
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                                  98.   The BOE, by and through its agents and/or employees acted with a reckless and
   12/18/2017 3:30 PM
     2017-L-012865
     PAGE 17 of 24




                        conscious disregard for the safety and welfare of minor female students, including Doe II, and

                        breached its duties owed to Doe II by committing one or more of the following acts or

                        omissions:

                                           a. Allowing an environment wherein Cruz could utilize school property,
                                              during and after school hours, without supervision of his activities, and
                                              engage in the sexual abuse of Doe II;

                                           b. Failing to protect Doe II despite its prior knowledge that Cruz was
                                              involved in sexual grooming, sexual harassment and sexual abuse of other
                                              female students;

                                           c. Failing to document complaints received against Cruz in accordance with
                                              BOE policies;

                                           d. Failing to warn and/or disclose to individual female students of the BOE,
                                              including Doe II, of the complaints received against Cruz.

                                           e. Withholding information from minor female students, including Doe II
                                              and their parents or guardians concerning prior complaints of sexual
                                              harassment and sexual abuse perpetrated on minor female students by
                                              Cruz;
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                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 18 of 24 PageID #:20




                                             f. Failing to warn and/or disclose to individual minor female students of the
                                                BOE, including Doe II, of the complaints received against Cruz.

                               99.         As a result of the BOE’s aforementioned breach, Defendants Cruz and BOE

                        proximately caused injury to Doe II.

                               WHEREFORE, Plaintiff, Doe II, a minor, by her mother and next best friend, Mary Doe

                        II, prays for judgment against the Defendant Board of Education of the City of Chicago in an

                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                                                          COUNT XII – NEGLIGENCE
                                                              (Doe II v. BOE)

                                          Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s
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                               100.
   12/18/2017 3:30 PM




                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 100 of Count
     2017-L-012865
     PAGE 18 of 24




                        XII of Plaintiffs Complaint.

                               101.       The BOE owed Doe II a duty to provide reasonably safe and appropriate

                        educational services.

                               102.       Defendant BOE breached its duty by engaging in one or more of the following

                        negligent acts:

                                             a. Failed to conduct a thorough investigation into the previous complaints
                                                against Defendant Cruz relating to inappropriate sexual behavior and
                                                comments made by Defendant Cruz;

                                             b. Failed to warn Doe II of Defendant Cruz’s propensities towards young
                                                female students;

                                             c. Failed to adequately supervise Defendant Cruz with the knowledge
                                                Defendant Cruz had made sexual advances towards other female students;

                                             d. Otherwise failed to protect Doe II from Defendant Cruz despite the
                                                knowledge Defendant Cruz had sexually harassed other female students.

                                                                        18
                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 19 of 24 PageID #:21




                               103.    As a direct and proximate cause and result of one or more of the aforesaid

                        negligent acts, the Plaintiff, Doe II, sustained personal, emotional and pecuniary injuries.

                               WHEREFORE, Plaintiff, Doe II, a minor, by her mother and next best friend, Mary Doe

                        II, prays for judgment against the Defendant Board of Education of the City of Chicago in an

                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                                            COUNT XIII - WILFUL AND WANTON CONDUCT
                                                           (Doe II v. BOE)

                               104.    Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 104 of Count
ELECTRONICALLY FILED




                        XIII of Plaintiffs Complaint.
   12/18/2017 3:30 PM




                               105.    Defendant BOE knew or should have known that its failure to properly investigate
     2017-L-012865
     PAGE 19 of 24




                        and protect students from sexual grooming behavior would likely result in injury to Doe II.

                               106.    Defendant BOE knowingly and intentionally disregarded a substantial risk of

                        harm it knew or should have known existed towards Doe II or its other students.

                               107.    Defendant BOE engaged in willful and wanton conduct by intentionally

                        disregarding a known risk of harm to Doe II by failing to investigate and/or supervise Defendant

                        Cruz by allowing Cruz unfettered access to female students despite the numerous complaints

                        against Cruz made by female students.

                               108.    As a direct and proximate cause of BOE’s utter indifference and/or conscious

                        disregard for the safety of it students by failing to control or supervise Defendant Cruz, the

                        Plaintiff, Doe II, sustained personal, emotional and pecuniary injuries.

                               WHEREFORE, Plaintiff, Doe II, a minor, by her mother and next best friend, Mary Doe

                        II, prays for judgment against the Defendant Board of Education of the City of Chicago in an
                                                                     19
                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 20 of 24 PageID #:22




                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                                                  COUNT XIV – NEGLIGENT RETENTION
                                                            (Doe II v. BOE)

                               109.    Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 109 of Count

                        XIV of Plaintiffs Complaint.

                               110.    While an employee of the BOE, the BOE and RCHS, through its agents, were

                        aware of numerous complaints made against Defendant Cruz relating to his inappropriate sexual

                        conduct involving female students.
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                               111.    Defendant BOE either knew or should have known of the sexually dangerous
   12/18/2017 3:30 PM




                        propensities of Defendant Cruz after learning of Cruz’s previous arrests and complaints made
     2017-L-012865
     PAGE 20 of 24




                        against Defendant Cruz.

                               112.    The violent and sexually dangerous propensities of Defendant Cruz made Cruz

                        unfit for the job and created a foreseeable danger to others.

                               113.    The unfitness of Defendant Cruz was a proximate cause of Doe II’s injuries.

                               114.    The conduct of RCHS and BOE in intentionally hiring and retaining Defendant

                        Cruz was willful and wanton as it was in reckless disregard for the safety of its students.

                               WHEREFORE, Plaintiff, Doe II, a minor, by her mother and next best friend, Mary Doe

                        II, prays for judgment against the Defendant Board of Education of the City of Chicago in an

                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                               COUNT XV – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                                  (Doe II v. Casino Cruz)

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                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 21 of 24 PageID #:23




                               115.    Plaintiff re-states and re-alleges Paragraphs 1-27 of Counts I of Plaintiff’s

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 115 of Count

                        XV of Plaintiffs Complaint.

                               116.    The acts of sexual harassment and sexual abuse against the minor female student,

                        Doe II, was extreme and outrageous.

                               117.    The BOE and Cruz either intended or knew that there was a high probability that

                        Cruz would cause severe emotional distress to Doe II.

                               118.    Defendant Cruz’s aforementioned conduct caused severe emotional distress to

                        Doe II and caused her to suffer damages of a personal and pecuniary nature.

                               WHEREFORE, Plaintiff, Doe II, a minor, by her mother and next best friend, Mary Doe
ELECTRONICALLY FILED




                        II, prays for judgment against the Defendant Board of Education of the City of Chicago in an
   12/18/2017 3:30 PM
     2017-L-012865
     PAGE 21 of 24




                        amount in excess of $50,000.00 plus attorney fees, interest, court costs and any other relief this

                        Court deems equitable and just.

                                 COUNT XVI – TITLE IX DISCRIMINATION (20 U.S.C. §1681, et. Seq.)
                                                   (Doe I and Doe II v. BOE)

                               119.    Plaintiffs re-state and re-allege Paragraphs 1-27 of Counts I of Plaintiffs’

                        Complaint at Law against Defendant BOE as though fully set forth in Paragraph 119 of Count

                        XV of Plaintiffs Complaint.

                               120.    Title IX provides that “No person… shall, on the basis of sex, be excluded from

                        participation in, be denied the benefits of, or be subjected to discrimination under any education

                        program or activity receiving Federal financial assistance…”

                               121.    At all relevant times, the BOE was an educational institution that provided public-

                        school education and receive federal financial assistance.

                               122.    At no time did Cruz perpetrate any act of sexual grooming, sexual harassment or
                                                                      21
                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 22 of 24 PageID #:24




                        sexual abuse or participate in any act of a sexual nature or with sexual overtones involving any

                        minor male student within the BOE.

                               123.   At all relevant times, the BOE possessed actual notice that it could be liable under

                        Title IX for teacher, counselor, administrator-on-student sexual harassment, sexual grooming,

                        sexual discrimination and sexual abuse.

                               124.   Based on prior reports of abuse, dating as far back as 2003 and continuing

                        through Doe I and Doe II’s abuse in 2016, the BOE, by and through its school board members,

                        administrators, employees and agents, possessed actual knowledge of Cruz’s alleged sexual

                        misconduct, including sexual harassment, sexual discrimination and sexual abuse of minor

                        female students.
ELECTRONICALLY FILED




                               125.   The BOE possessed decision-making authority concerning the procedures and
   12/18/2017 3:30 PM
     2017-L-012865
     PAGE 22 of 24




                        actions taken upon reports of sexual abuse, sexual harassment and sexual grooming.

                               126.   At all relevant times, Doe I and Doe II were subject to discrimination in their

                        education at the BOE based upon their gender in that each suffered sexual grooming, sexual

                        harassment and sexual abuse as a condition of their receipt of an education at the RCHS.

                               127.   That despite multiple reports of Cruz's misconduct, the BOE, by and through its

                        school board members, administrators, employees and agents, failed to take appropriate

                        corrective action, thereby acting with deliberate indifference to the rights and safety in one or

                        more the following ways:

                                   a. ignoring and minimizing reports of sexual misconduct, including sexual
                                      harassment and sexual abuse, despite an ongoing danger to minor female students
                                      within the BOE;
                                   b. withholding and/or failing to properly document complaints received concerning
                                      sexual misconduct;

                                                                       22
                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 23 of 24 PageID #:25




                                   c. failing to communicate any precautions, directives or educational materials that
                                       might be utilized between parent and child to identify whether or not
                                       inappropriate conduct occurred between any students/child and any other adult,
                                       whether generally or specifically in relations to Cruz; and
                                   d. failing to otherwise institute corrective action designed to reduce the risk of harm
                                       and foreseeable acts of sexual harassment and sexual abuse perpetrated against
                                       minor female students, including Doe I and Doe II.

                               128.    The policy or practice of receiving and minimizing multiple complaints of

                        harassment and abuse concerning Cruz's conduct with female students while failing to take any

                        corrective action designed to reduce the risk of harm posed to female students constituted

                        deliberate indifference and led to the deprivation of Doe I and Doe II’s right to equal public
ELECTRONICALLY FILED




                        education without discrimination on the basis of sex, and sexual activity indeed became a
   12/18/2017 3:30 PM
     2017-L-012865
     PAGE 23 of 24




                        condition of receiving a public education.

                               129.    The deliberate indifference demonstrated by the BOE despite multiple reports of

                        teacher/counselor/administrator-on-student sexual grooming, sexual harassment and sexual

                        abuse, caused Doe I and Doe II to suffer unwarranted, unwelcome and uninvited sexual

                        harassment and sexual abuse of a gross and predatory nature in 2016.

                               130.    Title IX, 20 U.S.C. §1681 et. Seq., Required the BOE to provide educational

                        opportunity on an equal basis to all students regardless of their gender.

                               131.    The BOE failed to comply with Title IX in that the BOE fail to ensure that the

                        education provided to minor female students would be unequal basis compared to the education

                        provided by the BOE to minor male students.

                               132.    20 U.S.C. § 1981 affords Doe I and Doe II a civil cause of action for damages and

                        for appropriate injunctive relief against the BOE. 42 U.S.C. § 1988 identifies damages, court

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                           Case: 1:18-cv-03201 Document #: 1-1 Filed: 05/04/18 Page 24 of 24 PageID #:26




                        costs, litigation expenses and attorney fees is within the remedies available in an action brought

                        are similar to 20 U.S.C. § 1981.

                               133.     That as a direct and/or proximate result of the conduct of the BOE as described

                        above, Doe I and Doe II suffered sexual harassment, sexual abuse, and have sustained emotional

                        distress as a result thereof and will continue to experience emotional distress in the future.

                               WHEREFORE, Plaintiffs, Doe I and Doe II, a minor, by their mothers and next best

                        friends, Mary Doe I and Mary Doe II, prays for judgment against the Defendant Board of

                        Education of the City of Chicago in an amount in excess of $50,000.00 plus attorney fees,

                        interest, court costs and any other relief this Court deems equitable and just.
ELECTRONICALLY FILED
   12/18/2017 3:30 PM
     2017-L-012865
     PAGE 24 of 24




                                                                              Respectfully submitted,

                        /s/ Jerome F. Marconi                                 /s/ John R. Perkhaus
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